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                                    UNITED STATES DISTRICT COURT
10
                                  SOUTHERN DISTRICT OF CALIFORNIA
11
        UNITED STATES OF AMERICA,                           Case No.          16CR   OY. ~C) &t~V
12
                     Plaintiff,                             I N FOR MAT ION
13             v.
                                                            Title 18 U.S.C. Section 1956(h) ­
14      MICHAEL TANDBERG,                                   Conspiracy to Launder Monetary
15                                                          Instruments; Title 18 U.S.C.
                     Defendant.                             Section 982 - Criminal Forfeiture
16
               The United States charges:
17
                                         INTRODUCTORY ALLEGATIONS
18
                     1.        Defendant          Michael        TANDBERG          served      as     the        Chief
19
        Executive        Officer        of        Lahar     Mfg,       Inc.        ("Lahar") ,        which        was
20
        headquartered       in    Newport         Beach,    California.            Lahar,      operating         under
21
        the    business     name     Puretane,            was    the    first        and       rgest      domestic
22
        manufacturer and distributor of butane specifically designed for use
23
        in the manufacture of butane hash oil.
24
                     2.        Butane    hash       oil     ("BHO")      is    a     marijuana       concentrate
25
        similar     in    appearance         to    honey    or    butter.          BHO     contains       extremely
26
        high   levels     of     Tetrahydrocannabinol              ("THC")         and   can    be   up     to    four
27
        times more potent than high grade marijuana.
28
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 1                     3.      BHO     is        commonly           manufactured        by        introducing       butane

2    into    a    metal        or    glass           pipe    stuffed with marij uana                 plant     material.

 3 Acting as a solvent, the butane extracts THC from the plant material.

 4   The butane and THC pass through a l t e r and collect in a receptacle

 5   below       the     pipe.         The       butane        then      evaporates         from     the     receptacle,

 6   often with the assistance of a heat source.

 7                     4.      Butane           is    odorless,          color less,        and    highly     flammable.

 8 As a      result of              these       characteristics,                manufacturing hash oil               using

 9 butane         can        lead to       fires        and explosions.                In    2015,     there       were   33

10   reported fires and explosions that occurred during the manufacture of

11   BHO in California.

12                     5.      These incidents have been reported in other areas of

13   the country.             For example,              a    2014 news article reported that Butane-

14   fueled blasts             sent        17    people        to    a   Portland burn unit                with    serious

15   injuries in the                   t    16 months,              including one Northeast Portland man

16   who later died from his                                uries and a 12-year-old girl who suffered

17   multiple          broken       bones        after        leaping      from    a    second       floor     apartment

18   building rocked by a butane explosion.                                     A 2015 news article reported

19   that at two Northern California burn treatment centers, injuries from

20   BHO    explosions              accounted          for     eight       to    ten   percent        of    severe     burn

21   cases, which represents a larger percentage than from car wrecks and

22   house fires combined.

23                      6.      Puretane             sold     its    Puretane-branded              butane     in    300   ml

24   canisters for approximately $4-5 per                                        ster to retailers throughout

25   the United States,                including to at least twenty-five retailers in San

26   Diego County such as Raw Smokeshop,                                  Dr.    Green's Ink,        and Holy Smoke.

27   From February              2015       to August           2015,       Puretane         sold at        least    400, 000

28   canisters of butane to retailers.

                                                                     2
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 1                  7•         Puretane           marketed             s      butane             for      use      in      the

2 manufacture of BHO.                      For example, in January 2015,                           Puretane hosted a

 3   contest,       in    which        it     offered       a        case    of     Puretane            butane        to   the
 4   contestant who could manufacture the highest quality BHO.                                                    Puretane

 5   advertised this                contest via       social media                outlets         such as        Facebook,

 6   Instagram, and Twitter.

 7                  8.         Puretane           advertised           its        product          in      various          BHO

 8   industry       print       and        internet      publications,              such         as     Dabs     Magazine,

 9   GrassCity,          420    Magazine,          and     THC       Farmer.            In       October        2014,      High

10   Times,     a    drug           culture       magazine,           featured          an       article        describing

11   Puretane's          butane       as    "designed        speci          cally       for       the     needs       of    BHO

12   makers."        The article             quoted Puretane's Chief                         Financial Officer as

13   saying     "we've          been       real    happy        with        the    clean          taste     of     the      BHO

14   [Puretane      butane]           produces."           Puretane           posted         a    link     to     the      High

15   Times article on its website and social media accounts.

16                                                       Count 1

17                                                18 U.S.C.      §    1956(h)

18                         CONSPIRACY TO LAUNDER MONETARY INSTRUMENTS

19                  9.         Paragraphs 1 through 8 of the Introductory Allegations

20   are realleged and incorporated by reference.

21                  10.        From on or about January 2014 through August 2015,                                            in
22   the Southern District of California and elsewhere,                                            defendant Michael

23   TANDBERG and Adam Hopkins                      (charged elsewhere)                 did knowingly conspire

24   and    agree        with       each    other     to     commit          offenses            against        the     United
25   States in violation of Title 18, United States Code, Section 1956, to

26   wit:

27                             a.      to     knowingly          conduct          and    attempt          to     conduct      a
28   financial       transaction              affecting          interstate             and       foreign         commerce,

                                                                 3
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 1 which involved the proceeds of a specified unlawful activity, that is

2    the    sale        of     drug       paraphernalia,                 with     the     intent          to    promote        the
 3 carrying on of specified unlawful activity,                                          that is the sale of drug
 4 paraphernalia,                   and that        while       conducting            and attempting to conduct

 5   such financial                 transaction           knew       that       the    property           involved       in    the

 6   financial              transaction         represented               the     proceeds           of     some       form        of
 7   unlawful           activity         in    violation             of    Title        18,     United          States    Code,
 8   Section 1956(a) (1) (A) (i).

 9                      All in violation of Title 18,                             United States Code,                    Section

10   1956 (h) .

11                                                  FORFEITURE ALLEGATION

12           9.         As     a    result     of     the       commission of             the    Offense alleged                   in

13   Count        1,     and        pursuant        to    Title          18,    United        States           Code,     Section

14   982 (a)   (1),         defendant Michael TANDBERG shall, upon conviction, forfeit

15   to the United States all rights,                                 title and interest in any and all

16 property involved in such offense, and any property traceable to such
17   property,              including         but        not     limited          to:     JP     Morgan           Chase       Bank

18   Accounts: -8845 in the name of Lahar Manufacturing; -3167 in the name

19   of Adam Hopkins; -8234 in the name of Adam Hopkins; -3010 in the name

20   of Michael Eric TANDBERG; -3167 in the name of Michael Eric TANDBERG;
21   and -9239 in the name of Michael Eric TANDBERG;                                             approximately 5,760

22   300    ml         cans        of   Puretane         butane;          and    approximately              60,768       300       ml

23   bottles           of     Puretane        butane.          All    in       violation        of    Title       18,     United

24   States Code, Section 982.
25           10.        If any of             the    above-described                  forfeitable          property,          as    a
26   result of any act or omission of the defendants ­
27   (1)     cannot be located upon the exercise of due diligence;

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                                                                     4
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 1   (2)     has   been   transferred   or   sold   to,   or   deposi ted   with,   a    third

 2   person;

 3   (3)     has been placed beyond the jurisdiction of the Court;

 4   (4)     has been substantially diminished in value; or

 5   (5)     has   been    commingled    with   other      property    which    cannot      be

 6   subdivided without difficulty;

 7   it is the intent of the United States,               pursuant to Title 21,         United

 8   States Code, Section 853(p)        and Title 18, United States Code,           Section

 9   982 (b) , to seek forfeiture of any other property of the defendants up

10   to the value of the        said property listed above as being subj ect to

11   forfeiture.
                                                LAURA E. DUFFY
12                                              United States Attorney



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14    J /1 0 LJro
     DATED
15                                              Assistant U.S. Attorney

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